         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 1 of 25


                        UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MASSACHUSETTS

                                                     CIVIL ACTION NO. 1:11-CV-11997-JGD

______________________________________________________
                                                      )
MARIA BARBOSA, HENRIQUETA BARBOSA,                    )
MANUEL BARBOSA and ANGELA BARBOSA,                    )
                        Plaintiffs                    )
vs.                                                   )
                                                      )
WILLIAM K. CONLON IN HIS CAPACITY AS, CHIEF OF )
POLICE FOR CITY OF BROCKTON, MA, THOMAS               )
HYLAND, BRYAN MAKER, JESSE DRANE, KENNETH             )
LOFSTROM, BRIAN DONAHUE, STEVEN E. JOHNSON, )
MARK CELIA, MICHAEL DUBE, FRANK BAEZ,                 )
ANTHONY GIARDINI, EMANUEL GOMES,                      )
LEON MCCABE AND JOHN DOE 1-3,                         )
                              Defendants              )
______________________________________________________)

                              FIRST AMENDED COMPLAINT

                                      Statement of the Case

       This action is to redress the deprivation of rights, privileges and immunities secured to

Plaintiffs, Maria Barbosa, Henriqueta Barbosa, Manuel Barbosa and Angela Barbosa by

provisions of the First, Fourth, Eighth, and Fourteenth Amendments of the United States

Constitution, the Massachusetts Civil Rights Act and state tort law. In this action Plaintiffs seek

recovery of compensatory and punitive damages as such may be recoverable under 42 U.S.C.

§1983, M.G.L. c.12 §11I, and Massachusetts common law for conduct by City of Brockton

police officers that deprived the Plaintiffs of their rights, privileges, and immunities secured and

protected by the Constitution and laws of the United States of America and the Commonwealth

of Massachusetts.

       In summary, in November 2008, the uniformed officers of the Brockton Police without

warning or warrant invaded the Plaintiffs’ private family home during a family gathering and
            Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 2 of 25


once inside verbally and physically assaulted family members, berated them with racial epithets,

and then falsely arrested and imprisoned Henriqueta and Angela. Further, when Maria went to

the police station later that evening to try to bail out her mother and sister, she was severely

beaten by Officer Steven Johnson. Further, upon information and belief, the defendant Brockton

Police Department through its Chief of Police William K. Conlon has tolerated the conduct

described in this Complaint through a pattern or practice of his failure to hire, supervise, train

and discipline police officers adequately, and failure to root out racial animus within the

Brockton Police Department. As such, the Plaintiffs suffered and continue to suffer mentally,

emotionally, and physically due to the improper search of their home, excessive force, false

arrests and assault and battery committed by Defendants.

                                                  Parties

       1.       Plaintiff Maria Barbosa (Maria) is an adult and resident citizen of 22 Leavitt

Street, Brockton, MA 02301 and a citizen of the United States.        At the time of this incident,

Maria was a twenty-one year old woman of slight stature, standing only approximately five feet

tall and weighing approximately 110 lbs.

       2.       Plaintiff Henriqueta Barbosa (Henriqueta) is an adult and resident citizen of 22

Leavitt Street, Brockton, MA 02301 and a citizen of the United States. Henriqueta is the mother

of plaintiffs Maria Barbosa and Angela Barbosa. At the time of this incident, Henriqueta was a

fifty year old woman of slight stature, standing only approximately five feet tall.

       3.       Plaintiff Manuel Barbosa (Manuel) is an adult and resident citizen of 22 Leavitt

Street, Brockton, MA 02301 and a citizen of the United States. Manuel is married to Plaintiff

Henriqueta Barbosa and the father of plaintiffs Maria Barbosa and Angela Barbosa.




                                                 2
            Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 3 of 25


       4.       Plaintiff Angela Barbosa (Henriqueta) is an adult and resident citizen of 231

Tremont Street, Apt. 2 Rear, Taunton, MA 02780 and a citizen of the United States. At the time

of this incident, Angela was a nineteen year old woman of slight stature, who just one week prior

had given birth by caesarean section.

       5.       Defendant, William K. Conlon, is a resident of the State of Massachusetts and is

and always has been at all time pertinent to this action, the Brockton Police Department (BPD)

Chief of Police, and is responsible for the administration, operation and supervision of the BPD.

As such, included within his duties are the promulgation and enforcement of rules, regulations,

policies and practices relevant to the BPD. Defendant Conlon has a current business address of 7

Commercial Street, Brockton, MA 02302.

       6.       Defendant Thomas Hyland is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       7.       Defendant Bryan Maker is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       8.       Defendant Jesse Drane is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       9.       Defendant Kenneth Lofstrom is a resident of the State of Massachusetts and is

and always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.




                                                 3
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 4 of 25


       10.     Defendant Brian Donahue is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       11.     Defendant Steven Johnson is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       12.     Defendant Frank Baez is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       13.     Defendant Anthony Giardini is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       14.     Defendant Emmanuel Gomes is a resident of the State of Massachusetts and is

and always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       15.     Defendant Leon McCabe is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       16.     Defendant Michael Dube is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.




                                                 4
          Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 5 of 25


       17.     Defendant Mark Celia is a resident of the State of Massachusetts and is and

always has been, at all times pertinent to this action, a Brockton Police Officer with a current

business address of 7 Commercial Street, Brockton, MA 02302.

       18.     Defendant Officers John Doe 1- 3 are residents of the State of Massachusetts and

are and always have been, at all times pertinent to this action, Brockton Police Officers with a

current business address of 7 Commercial Street, Brockton, MA 02302

       19.     At all relevant times, Defendants acted under color of state law.

                                                Jurisdiction

       20.     Jurisdiction and venue are invoked pursuant to 28 U.S.C. §1331, and civil rights

jurisdiction under 28 U.S.C. §1343. The asserted rights and interests of the Plaintiff exceed

$75,000.00, exclusive of interests and costs. The substantive claims in this action arise under 42

U.S.C §1983, and the First, Fourth, Eight, and Fourteenth Amendments of the United States

Constitution. All state claims are pendent to the federal claims.

       21.     Venue is proper in the Eastern Division of the District of Massachusetts pursuant

to 28 U.S.C § 1391, as the defendants reside in and claim arose in the Eastern Division of the

District of Massachusetts.

                                            Factual Background

       22.     On Saturday, November 15, 2008, the Barbosa family gathered at the home of

Henriqueta and Manuel Barbosa, located at 22 Leavitt Street in Brockton, MA (hereinafter, “the

Barbosa home”) for a Sete. A Sete is a Cape Verdean tradition in which family members gather

for a celebration seven days after the birth of a child.




                                                   5
           Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 6 of 25


       23.     The November 15, 2008 Sete was held to celebrate the birth of Jezmany Andrade,

(“Baby Jezmany”) Henriqueta’s grandson born to her daughter Angela, by caesarean section a

week prior the celebration.

       24.     Approximately fifteen family members gathered to celebrate the Sete, of which

approximately seven were children under the age of nine years old.

       25.     During the Sete some of the family members came and went but all of the

festivities were conducted inside the Barbosa home.        By approximately 11:00 P.M., the

following adult family members were gathered in the kitchen: Henriqueta, Fashto Juana (uncle),

Antonio (uncle), John (baby Jezmany’s father), Angela, Nildee (aunt), and Tony (uncle). Also

present in the kitchen at that time were Telma (nine years old), Giovanni (eight years old) and

Dovanti (seven years old).

       26.     Manuel and the four younger children were soundly sleeping in an adjoining

bedroom.

       27.     At sometime after 11:00 P.M. Henriqueta saw two police offers standing just

inside the back door of her home, near the kitchen.

       28.     Henriqueta was surprised to see these officers, later identified as Hyland and

Donahue, as she had not consented to their entrance into her home and the officers had not

knocked or announced prior to entering. No warrant had been issued in support of any entry by

any police officer into the Barbosa home.

       29.     Without a warrant, consent or exigent circumstance Hyland immediately made his

way upstairs to where Henriqueta’s son and his cousin were playing music. Hyland asked the

men to turn off the music and they immediately complied.



                                                6
          Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 7 of 25


        30.     Family members were shocked that the officers claimed to be responding to a

complaint of loud music given that the music was not loud, as further evidenced by the fact that

young children were sleeping undisturbed inside the home.

        31.     The initial responding police officers remained on the premises as additional

officers arrived on the scene and illegally entered the Barbosa home, including Officer Dube,

Officer Drane, Sergeant Celia, Sergeant Lofstrom, and Sergeant Maker.

        32.     Without any justification whatsoever, the officers vehemently demanded to

inspect each individual’s identification. While still confused as to what was occurring, the family

members complied and explained to the officers that they had gathered at the residence to

celebrate the birth of a child in the family.

        33.     The family members then questioned the officers as to the officers’ right to enter

the private home unannounced, without consent, and without a warrant. Further, the family

questioned why the police remained in the residence, even after the Barbosas’ immediate

compliance with their demand to turn the music off.

        34.     The police officers became enraged with the Barbosas’ line of questioning and

began to taunt the family with derogatory and racist names such as “bitches,” “dump hoes,”

“immigrants.”

        35.     Additionally, the officers made inflammatory statements to the family members

including but not limited to, “immigrants go back to your country” and “we (the officers) have

the right to do whatever we want and you can’t do anything about it,” while condescendingly

laughing at Henriqueta, Manuel and Angela and the other family members present.

        36.     The officers illegally ordered that all of the adults in the kitchen leave the Barbosa

home. This included the homeowners Henriqueta and Manuel, and the new parents, John and

                                                  7
          Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 8 of 25


Angela, who were staying with Henriqueta and Manuel in the home, while Angela recovered

from her recent caesarean section.

       37.     Compliance with the officers’ demands to leave the home required John and

Angela to leave their sleeping newborn and young daughter alone without adult supervision.

       38.     Henriqueta, in her broken English, attempted to explain to the police officers the

need for adults to remain in the home and supervise the young children; however, the officers

completely disregarded her plea and forced all of the adults to vacate the premises.

       39.     Henriqueta became emotional and upset, as she was unable to understand why the

officers were forcing the family out of their home and assaulting them.

       40.     Apparently, angered by Henriqueta’s questioning Hyland grabbed Henriqueta and

threw her violently against the wooden closet door. Hyland then lifted up Henriqueta, carried

her outside, and threw her onto the wooden porch.

       41.     When Angela objected to Hyland’s brutalization of her mother, she was violently

shoved against the stove by Drane and dragged by her hair through the kitchen to a parked police

cruiser outside.

       42.     Angela immediately felt immense pain emanating from her scalp and, also noticed

with terror that her caesarean scar was now bleeding.

       43.     As Angela protested, Drane ordered her to “shut the fuck up!”

       44.     Angela was then immediately placed under arrest, without being informed of any

charges against her and forced into the back of the police cruiser, for no reason other than that

she dared to question the police assault on her family.

       45.     Drane’s attack on Angela caused her hair to fall out.


                                                 8
          Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 9 of 25


       46.     During Drane’s violent attack on Angela, officers shouted derogatory names such

as “bitch” and insults such as “when are you going to lose your baby weight?” to Angela.

       47.     Once at the station, the defendants concocted phony charges against Angela in an

illegal effort to justify their assault on the Barbosa family. Angela was charged with Assault and

Battery with a Dangerous Weapon, Interfering with Police Officer in Performance of Duty,

Intimidating a Witness, Disorderly Conduct, Inciting a Riot, and Resisting Arrest. These charges

were fictitious, and a pretext for the unlawful entry and unlawful arrest described herein.

       48.     Henriqueta also was placed under false arrest at approximately the same time as

Angela. Henriqueta was charged with Assault and Battery with Dangerous Weapon, Disorderly

Conduct, Disturbing the Peace, Interfering with a Police Officer, and Resisting Arrest. These

charges were fictitious, and a pretext for the unlawful entry and unlawful arrest described herein.

       49.     Without just cause or justification the defendants ordered Manuel and all other

adults to leave the Barbosa home and property without regard to the fact that there were

unattended small children and a sleeping infant inside.

       50.     The actions of the defendants in forcing the adults out of the home caused all

seven of the young children, including the newborn, to be left without adult supervision.

       51.     One of the children used Henriqueta’s cell phone to call Henriqueta’s

daughter/Angela’s sister, Maria Barbosa, who had left the home earlier in the evening, and was

not present during the home invasion by the Brockton police.

       52.     Upon learning what had happened, Maria went to the Brockton Police Station

with her sister Nilda and a friend.

       53.     At the station, Maria and the friend sat down, while Nilda went to speak with

Defendant Officer Steven Johnson at the front desk.
                                                 9
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 10 of 25


       54.     Officer Johnson informed the sisters that Henriqueta and Angela would be

released that night, but not for another half hour.

       55.     Nilda questioned the police officer as to what had happened earlier in the night;

however, Officer Johnson ignored the question and simply stated, “I told you, you can come

back in a half hour.”

       56.     While at the police station, Angela and Henriqueta were handcuffed to each other.

The police continually mocked the women as they waited to be booked, calling them more racist

and derogatory names and denying them much-needed medical attention.

       57.     Maria, knowing that her sister had recently had a child and of the violent intrusion

that took place, requested that an ambulance be called to aid her injured mother and sister.

Officer Johnson refused.

       58.     Maria requested the badge numbers of all of the police officers that had been at

her parents’ home during the incident. Johnson, angered by Maria’s inquiry, refused to supply

the sisters with any information.

       59.     Officer Johnson demanded that Maria and Nilda leave the police station and

return in a half hour to retrieve Henriqueta and Angela.

       60.     Maria, concerned about leaving her relatives in police custody after what had

happened, insisted on waiting quietly in the police station.

       61.     This enraged Officer Johnson, who then came out from behind the front desk

screaming, “You stupid bitch! I told you to leave!”

       62.     Shocked, Maria tried to walk out of the police station and Johnson forcefully

pushed her to the exit.


                                                 10
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 11 of 25


       63.     Once outside, Johnson closed his fist and swung three times at Maria. As Maria

attempted to protect herself by shielding her face with her hands, Johnson struck Maria once in

the hand.

       64.     As Maria tried to protest this vicious beating, Johnson immediately grabbed Maria

by both of her hands and violently dragged her into the police station.

       65.     As she was being dragged, Maria saw several police officers run out from behind

the counter towards her.

       66.     Johnson got behind Maria, who is approximately five feet tall and weighs

approximately one hundred pounds, slammed her down onto a metal bench in the front lobby,

and handcuffed her.

       67.     Maria, who suffers from asthma, attempted to lift her head, as she was unable to

breathe due to Johnson’s weight on top of her. Johnson then grabbed Maria’s head and slammed

it on the metal bench and struck her in the face again with a closed fist, resulting in severe

lacerations to Maria’s face. Satisfied with his brutalization of Maria, Johnson left and did not

return to Maria’s sight that evening.

       68.     After the brutal attack by Johnson, Maria called the police officers “woman

beaters.” To which another officer replied, “You don’t want it to happen again…” and “Shut the

fuck up or that will happen to the other side of your face.”

       69.     Henriqueta, Angela and Maria were all subjected to constant berating,

harassment, and abuse, while being booked and held at the police station.

       70.     One officer taunted the women with food, saying “You can’t eat this,” while

laughing.



                                                 11
          Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 12 of 25


         71.   Another officer repeated ugly and aggressive racist remarks such as, “I hate you

people… Cape Verdean people.”

         72.   Maria was called an “animal” and told “your president is black and look who we

have.”

         73.   As the plaintiffs languished under the continued verbal racist assault, there was a

shift change at the police station. Maria stated to an unidentified gray haired officer with a

mustache, that “your friend did this to me.” The officer immediately looked over at another

police officer and just shook his head, as though not surprised.

         74.   Nilda called for an ambulance, but the ambulance was intercepted and cancelled

by the police officers.

         75.   A female officer later called for EMTs to come and examine the three women,

and an ambulance eventually arrived.

         76.   Maria, who was very healthy prior to this incident, suffered severe trauma to her

eye during Johnson’s assault. She continues to suffer from severe headaches/migraines and facial

twitching, as a result of the beating administered by Officer Johnson, which has greatly impacted

and compromised her college studies and abilities in the workplace.

         77.   Henriqueta has a packing job and due to injuries to her shoulders and arms, as a

result of her illegal arrest she was out of work for two weeks and suffered from other physical

and emotional injuries.

         78.   The illegal police action caused Angela to bleed from her caesarean section and

required immediate attention from her doctor. Angela was placed on strong pain medication to

help her cope with immense pain caused by the injuries inflicted upon her by the defendants.



                                                12
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 13 of 25


       79.     Maria, Angela, and Henriqueta all suffered physical and emotional harm with

objective physical manifestation as a result of the illegal and violent actions of the defendants.

       80.     Manuel Barbosa, though not physically harmed during the police officers’ attacks,

continues to suffer from severe mental and emotional injuries, resulting from the attack on his

wife and daughters, with objective physical manifestation.

                                   COUNT I
                        VIOLATION OF 42 U.S.C. §1983-
          HYLAND, DONAHUE, CELIA, MAKER, LOFSTROM, DRANE AND DUBE

       81.     Plaintiffs hereby reassert all allegations of Paragraphs 1-80 above as if fully set

forth again herein.

       82.     In their capacities as police officers for the BPD and while acting under color of

state law, defendants Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube responded to a

minor noise violation at the Barbosa home and acted with excessive use of force, and with

intentional, reckless, callous and deliberate indifference to well-known, basic human and legal

rights of the plaintiffs, Henriqueta, Manuel and Angela Barbosa. The officers entered the

Barbosas’ private home residence without a warrant and without consent, where they harassed

and berated Henriqueta, Manuel, and Angela with racist epithets, unlawfully placed Henriqueta

and Angela under arrest without cause, thereby using force beyond what a reasonable police

officer would deem necessary to bring Henriqueta and Angela into custody under the

circumstances, and forced Henriqueta, Manuel, and Angela out of their home. Defendants’

actions caused deprivation of plaintiffs’ rights, privileges and immunities secured by Article

XXVI of the Massachusetts Declaration of Rights, M.G. c. 265 §22, Massachusetts common law

and the Fourth, Fifth and Eighth Amendments to the United States of Constitution, all in

violation of 42 U.S.C. §1983.


                                                 13
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 14 of 25


        83.     The 42 U.S.C. §1983 violations by Hyland, and/or Donahue, and/or Celia, and/or

Maker, and/or Lofstrom, and/or Drane and/or Dube as more fully set forth above were the

proximate cause of severe damage to plaintiffs including bodily injury, lost earning capacity,

extreme mental anguish, emotional harm and humiliation, with physical manifestations, extreme

anxiety and the loss of rights secured to them by the aforementioned state and federal

constitutions and laws.

        WHEREFORE, Henriqueta, Manuel, and Angela demand judgment against Defendants

Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube jointly and severally in an amount

sufficient to compensate them adequately and fairly for their damages as set forth above,

together with punitive or exemplary damages, interest, costs, reasonable attorneys fees and such

further relief as is just and proper.

                                   COUNT II
                         VIOLATION OF M.G.L. c. 12 §11I
           HYLAND, DONAHUE, CELIA, MAKER, LOFSTROM, DRANE AND DUBE

        84.     Plaintiffs hereby reassert all allegations of Paragraphs 1-83 above as if fully set

forth again herein.

        85.     As more fully set forth above, Defendants Hyland, Donahue, Celia, Maker

Lofstrom, Drane and Dube by threats, intimidation and/or coercion have interfered with

Henriqueta, Manuel, and Angela’s exercise or enjoyment of rights secured by the constitution or

laws of the United States, or of rights secured by the constitution or laws of the Commonwealth

of Massachusetts, including but not limited to rights secured by Article XXVI of Massachusetts

Declaration of Rights, M.G.L. c. 265 §22, Massachusetts common law, the Fourth, Fifth, and

Eighth Amendments to the United States Constitution, and 42 U.S.C. 1983, all in violation of

M.G. L. c. 12 §11I.


                                                  14
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 15 of 25


        86.     Defendants’ violations of M.G.L. c. 12 §11I as more fully set forth above were

the proximate cause of severe damage to Henriqueta, Manuel, and Angela including bodily

injury, extreme mental anguish, emotional harm and humiliation with physical manifestations,

lost earning capacity, extreme anxiety and the loss of rights secured to them by the

aforementioned state and federal constitutions and laws.

        WHEREFORE, Henriqueta, Manuel and Angela demand judgment against Defendants

Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube jointly and severally in an amount

sufficient to compensate them adequately and fairly for their damages as set forth above,

together with punitive or exemplary damages, interest, costs, reasonable attorneys fees and such

further relief as is just and proper.

                                        COUNT III
                        VIOLATION OF 42 U.S.C. §1983- JOHNSON

        87.     Plaintiffs hereby reassert all allegations of Paragraphs 1-86 above as if fully set

forth again herein.

        88.     In his capacity as a police officer for the BPD and while acting under color of

state law, Johnson acted with excessive use of force, and with intentional, reckless, callous and

deliberate indifference to well-known, basic human and legal rights of the plaintiff, Maria

Barbosa. At the Brockton Police Station, Johnson without provocation harassed and assaulted

Maria using degrading racial epithets, and then proceeded to beat Maria violently for no reason,

while she was restrained and unable to move. Therefore, Maria was deprived her rights,

privileges and immunities secured by Article XXVI of the Massachusetts Declaration of Rights,

M.G. c. 265 §22, Massachusetts common law and the Fourth, Fifth and Eighth Amendments to

the United States of Constitution, all in violation of 42 U.S.C. §1983.



                                                  15
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 16 of 25


        89.     Defendant Johnson’s violation of 42 U.S.C. §1983 as more fully set forth above

was the proximate cause of severe damage to Maria including bodily injury, extreme mental

anguish, emotional harm and humiliation with physical manifestations, extreme anxiety and the

loss of rights secured to her by the aforementioned state and federal constitutions and laws.

        WHEREFORE, Plaintiff Maria Barbosa demands judgment against Defendant Johnson in

an amount sufficient to compensate her adequately and fairly for her damages as set forth above,

together with punitive or exemplary damages, interest, costs, reasonable attorneys fees and such

further relief as is just and proper.

                                          COUNT IV
                             VIOLATION OF M.G.L. c. 12 §11I- JOHNSON

        90.     Plaintiffs hereby reassert all allegations of Paragraphs 1-89 above as if fully set

forth again herein.

        91.     As more fully set forth above, Defendant Johnson by threats, intimidation and/or

coercion has interfered with Maria’s exercise or enjoyment of rights secured by the constitution

or laws of the United States, or of rights secured by the constitution or laws of the

Commonwealth of Massachusetts, including but not limited to rights secured by Article XXVI of

Massachusetts Declaration of Rights, M.G.L. c. 265 §22, Massachusetts common law, the

Fourth, Fifth, and Eighth Amendments to the United States Constitution, and 42 U.S.C. 1983, all

in violation of M. G. L. c. 12 §11I.

        92.     Defendant’s violations of M.G.L. c. 12 §11I as more fully set forth above were

the proximate cause of severe damage to Maria including bodily injury, lost earning capacity,

extreme mental anguish, emotional harm and humiliation with physical manifestations, extreme

anxiety and the loss of rights secured to her by the aforementioned state and federal constitutions

and laws.

                                                  16
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 17 of 25


       WHEREFORE, Plaintiff Maria Barbosa demands judgment against Defendant Johnson

in an amount sufficient to compensate her adequately and fairly for her damages as set forth

above, together with punitive or exemplary damages, interest, costs, reasonable attorneys fees

and such further relief as is just and proper.

                                       COUNT V
                              VIOLATION OF 42 U.S.C. §1983-
                      BAEZ, GIARDINI, CELIA, GOMES, AND MCCABE

       93.      Plaintiffs hereby reassert all allegations of Paragraphs 1-92 above as if fully set

forth again herein.

       94.      In their capacities as police officers for the BPD and while acting under color of

state law, defendants Baez, and/or Giardini, and/or Celia, and/or Gomes, and/or McCabe without

provocation harassed and verbally assaulted Maria, Henriqueta and Angela and with intentional,

reckless, callous and deliberate indifference to well-known, basic human and legal rights of the

three women while in police custody at the Brockton Police Station. Baez, Giardini, Celia,

Gomes, and McCabe falsely imprisoned them and continuously berated them with racial epithets,

and refused to provide them with needed medical assistance. Therefore, Maria, Henriqueta, and

Angela were deprived of their rights, privileges and immunities secured by Article XXVI of the

Massachusetts Declaration of Rights, M.G. c. 265 §22, Massachusetts common law and the

Fourth, Fifth and Eighth Amendments to the United States of Constitution, all in violation of 42

U.S.C. §1983.

       95.      Defendants’ violations of 42 U.S.C. §1983 as more fully set forth above were the

proximate cause of severe damage to plaintiffs including bodily injury, extreme mental anguish,

emotional harm and humiliation with physical manifestations, extreme anxiety and the loss of

rights secured to them by the aforementioned state and federal constitutions and laws.


                                                  17
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 18 of 25


        WHEREFORE, Maria, Henriqueta, and Angela demand judgment against Defendants

Baez, Giardini, Celia, Gomes, and McCabe jointly and severally in an amount sufficient to

compensate them adequately and fairly for their damages as set forth above, together with

punitive or exemplary damages, interest, costs, reasonable attorneys fees and such further relief

as is just and proper.

                                           COUNT VI
                                 VIOLATION OF M.G.L. c. 12 §11I
                          BAEZ, GIARDINI, CELIA, GOMES, AND MCCABE

        96.     Plaintiffs hereby reassert all allegations of Paragraphs 1-95 above as if fully set

forth again herein.

        97.     As more fully set forth above, Defendants Baez, and/or Giardini, and/or Celia,

and/or Gomes, and/or McCabe by threats, intimidation and/or coercion have interfered with

Maria, Henriqueta and Angela’s exercise or enjoyment of rights secured by the constitution or

laws of the United States, or of rights secured by the constitution or laws of the Commonwealth

of Massachusetts, including but not limited to rights secured by Article XXVI of Massachusetts

Declaration of Rights, M.G.L. c. 265 §22, Massachusetts common law, the Fourth, Fifth, and

Eighth Amendments to the United States Constitution, and 42 U.S.C. 1983, all in violation of M.

G. L. c. 12 §11I.

        98.     Defendants’ violations of M.G.L. c. 12 §11I as more fully set forth above were

the proximate cause of severe damage to Maria, Henriqueta and Angela including bodily injury,

extreme mental anguish, emotional harm and humiliation with physical manifestations, extreme

anxiety and the loss of rights secured to them by the aforementioned state and federal

constitutions and laws.

        WHEREFORE, Maria, Henriqueta and Angela demand judgment against Defendants

Baez, Giardini, Celia, Gomes, and McCabe jointly and severally in an amount sufficient to
                                             18
            Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 19 of 25


compensate them adequately and fairly for their damages as set forth above, together with

punitive or exemplary damages, interest, costs, reasonable attorneys fees and such further relief

as is just and proper.

                                      COUNT VII
                                WARRANTLESS SEARCH-
              HYLAND, DONAHUE, CELIA, MAKER, LOFSTROM, DRANE AND DUBE

           99.     Plaintiffs hereby reassert all allegations of Paragraphs 1- 98 above as if fully set

forth again herein.

           100.    The Fourth Amendment to the United States Constitution provides that no person

shall be subjected to a warrantless search of her residence except under exigent circumstances,

that is, emergency circumstances requiring immediate action and with probable cause. Probable

cause exists if the facts known to the defendant(s) are sufficient to warrant a reasonable police

officer to believe that the plaintiff(s) have committed or are committing a crime.

           101.    Defendants Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube entered

the private residence of Manuel and Henriqueta Barbosa without announcing their presence,

without consent of the homeowners, without a warrant, and without the existence of any exigent

circumstances that would warrant immediate action.

           102.    An officer has the authority to enter a home without a warrant to make an arrest

for a misdemeanor involving an ongoing breach of the peace; however, a minor noise violation

regarding the playing of loud music does not amount to a breach of the peace.1

           103.    Further, Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube could have

easily posted watch on the entrances to the home, until a warrant was obtained, as there was no

concern regarding the destruction of evidence.


1
    Commonwealth v. Kiser, 48 Mass. App. Ct. 647, 651 (2000).
                                                       19
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 20 of 25


        WHEREFORE, Henriqueta, Manuel, and Angela demand judgment against Defendants

Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube jointly and severally in an amount

sufficient to compensate them adequately and fairly for their damages as set forth above,

together with punitive or exemplary damages, interest, costs, reasonable attorneys fees and such

further relief as is just and proper.

                                  COUNT VIII
                                FALSE ARREST-
           HYLAND, DONAHUE, CELIA, MAKER LOFSTROM, DRANE AND DUBE

        104.     Plaintiffs hereby reassert all allegations of Paragraph 1-103 above as if fully set

forth again herein.

        105.    The defendants Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube

responded to a report of a minor noise violation and despite the Barbosa families’ compliance

with defendants’ demands and without consent or privilege, the defendants falsely arrested

Henriqueta and Angela. At the moment the women were arrested, the facts and circumstances

known to the defendants were insufficient to warrant a person of reasonable caution to believe

that Henriqueta and Angela had committed or were committing a crime.

        WHEREFORE, Henriqueta and Angela demand judgment against Defendants Hyland,

Donahue, Celia, Maker, Lofstrom, Drane and Dube jointly and severally in an amount to be

proven at trial, together with applicable interest and costs, and all such further relief as is just.




                                                   20
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 21 of 25


                                      COUNT IX
                                    FALSE ARREST-
                  JOHNSON, BAEZ, GIARDINI, CELIA, GOMES, AND MCCABE

        106.      Plaintiffs hereby reassert all allegations of Paragraph 1- 105 above as if fully set

forth again herein.

        107.     Maria arrived at the Brockton Police Station to retrieve her sister and mother. As

it was late in the evening, she chose to wait in the lobby, a public area, until her family members

were released. This was met with unwarranted name calling, hostility and violence. Officers

Johnson, Baez, Giardini, Celia, Gomes, and McCabe falsely arrested plaintiff Maria Barbosa

without consent or privilege, as she had not committed nor was committing any crime at the time

of her arrest.

        WHEREFORE, Maria demands judgment against Defendants Johnson, Baez, Giardini,

Celia, Gomes, and McCabe jointly and severally in an amount to be proven at trial, together with

applicable interest and costs, and all such further relief as is just.

                                   COUNT X
                                    ASSAULT-
           HYLAND, DONAHUE, CELIA, MAKER, LOFSTROM, DRANE AND DUBE

        108.      Plaintiffs hereby reassert all allegations of Paragraph 1- 107 above as if fully set

forth again herein.

        109.     Defendants Hyland, Donahue, Celia, Maker, Lofstrom, Drane and Dube’s

aggressive physical demeanor and verbal attack on Henriqueta and Angela as described herein,

intentionally created an apprehension of immediate physical harm for no known purpose other

than to create apprehension of immediate physical harm. Any reasonable person would also

become apprehensive in the face of defendants’ verbal berating and threatening manner.



                                                   21
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 22 of 25


       110.    As a direct and proximate result of the conduct of Hyland, Donahue, Celia,

Maker, Lofstrom, Drane and Dube, Henriqueta and Angela were intimidated and put in

continuing anxiety and have suffered damages including but not limited to those aforesaid.

       WHEREFORE, Henriqueta and Angela demand judgment against Defendants Hyland,

Donahue, Celia, Maker, Lofstrom, Drane and Dube jointly and severally in an amount to be

proven at trial, together with applicable interest and costs, and all such further relief as is just.



                                                 COUNT XI
                                          ASSAULT- JOHNSON
       111.     Plaintiffs hereby reassert all allegations of Paragraph 1- 110 above as if fully set

forth again herein.

       112.    Johnson intentionally created an apprehension of immediate physical harm in

Maria by using threatening and intimidating language, pushing and throwing punches at her as

described herein, for no known purpose other than to create apprehension of immediate physical

harm. Any reasonable person would also become apprehensive in the face of Johnson’s

threatening conduct.

       113.    As a result of Johnson’s assault against Maria, she was intimidated and put in

continuing anxiety, and has suffered damages to be proven at trial.

       WHEREFORE, Maria demands judgment against Johnson in an amount to be proven at

trial, together with applicable interest and costs, and all such further relief as is just.




                                                  22
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 23 of 25


                                                  COUNT XII
                                            BATTERY- HYLAND

        114.     Plaintiffs hereby reassert all allegations of Paragraph 1- 113 above as if fully set

forth again herein.

        115.    Without the consent of Plaintiff Henriqueta Barbosa, Defendant Hyland and

others to be proven at trial intentionally, harmfully, and offensively touched Henriqueta by

forcibly slamming her into a wooden closet door, carrying her and dropping her onto a porch,

causing her to suffer injuries as aforesaid.

        WHEREFORE, Henriqueta demands judgment against Hyland in an amount to be proven

at trial, together with applicable interest and costs, and all such further relief as is just.

                                                 COUNT XIII
                                             BATTERY- DRANE

        116.     Plaintiffs hereby reassert all allegations of Paragraph 1- 115 above as if fully set

forth again herein.

        117.    Without the consent of Plaintiff Angela Barbosa, Defendant Drane and others to

be proven at trial intentionally, harmfully, and offensively touched Angela by pulling her to the

ground and dragging by her hair with such force that her hair fell out, with the knowledge that

Angela had recently delivered a child by caesarean section, and caused her to suffer such further

injuries to be proven at trial.

        WHEREFORE, Angela demands judgment against Drane in an amount to be proven at

trial, together with applicable interest and costs, and all such further relief as is just.




                                                   23
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 24 of 25


                                              COUNT XIV
                                           BATTERY- JOHNSON

        118.    Plaintiffs hereby reassert all allegations of Paragraph 1- 117 above as if fully set

forth again herein.

        119.    Without the consent of Maria Barbosa, Defendant Johnson intentionally,

harmfully, and offensively touched Maria by repeatedly pushing her, slamming her to the ground

from behind, hitting her face on a metal bench and by striking her repeatedly in the face and

upper body and causing her to suffer the injuries described herein.

        WHEREFORE, Maria demands judgment against Johnson in an amount to be proven at

trial, together with applicable interest and costs, and all such further relief as is just.


                                       COUNT XVII:
                      INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

        120.    Plaintiffs hereby reassert all allegations of Paragraph 1- 119 above as if fully set

forth again herein.

        121.    All named defendants intentionally and deliberately inflicted emotional distress

on Plaintiffs Maria, Henriqueta, Manuel and Angela Barbosa by violating their constitutional

rights, by interfering with Plaintiffs’ state civil rights by threats, coercion, and/or intimidation, or

knew or should have known that emotional distress was the likely result of their conduct.

        122.    Defendants’ actions stated herein reflect their intention to inflict emotional

distress and/or should have known that emotional distress was the likely result of their conduct.

        123.    Defendants’ conduct was extreme and outrageous and beyond all possible bounds

of decency, and is utterly intolerable in a civilized community and were the direct cause of the

plaintiffs’ severe distress that no reasonable man could be expected to endure.

                                                   24
         Case 1:11-cv-11997-JGD Document 4 Filed 02/10/12 Page 25 of 25


       WHEREFORE, plaintiffs Maria, Henriqueta, Manuel, and Angela demand judgment

against defendants in an amount to be proven at trial sufficient to compensate them for all of

their damages, plus interest, costs, and such further relief as is deemed just and proper.

A JURY TRIAL IS HEREBY DEMANDED ON ALL COUNTS AND ISSUE SO TRIABLE.




                                                      Respectfully submitted,
                                                      Plaintiffs
                                                      Maria Barbosa, Henriqueta Barbosa, Manuel
                                                      Barbosa and Angela Barbosa,
                                                      By their attorney,

                                                      /s/ Charles P. Kazarian
Dated: February 2, 2012                               ______________________________
                                                      Charles P. Kazarian
                                                      Law Office of Charles P. Kazarian, Esq.
                                                      160 State Street, Sixth Floor
                                                      Boston, MA 02109
                                                      (617)723-6676
                                                      BBO # 262660
                                                      cpk@kazarianlaw.com




                                 CERTIFICATE OF SERVICE

        I, Charles Kazarian, hereby certify that on this 10th day of February, 2012, I caused a
copy of the foregoing document by causing a copy to be sent electronically to the registered
participants in this case through the ECF system.

                                                      /s/ Charles P. Kazarian
                                                      ______________________________
                                                      Charles P. Kazarian




                                                 25
